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                                                                                                                     Attachment A
                                                 declaration UNDER PENALTY OF PERJURY

                      above action, that Se^1 r^/thfabove^o 0fFe‘^tUry,tlft be/she is *he Plaintiffin the




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         COLEMAN, FLORIDA
         33521
         THE ENCLOSED LETTER WAS
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         NEITHER OPENED OR INSPECTED.
         IF THE WRITER RAISES A QUESTION
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         FACILITY HAS JURISDICTION, YOU
         MAY WISH TO RETURN THE MAIL
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         CLARIFICATION. IF THE WRITER
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         ADDRESSEE, PLEASE REJURNTHE
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